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                                                       EXHIBIT 10
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   1   Hon. Edward A. Infante (Ret,}
       JAMS
  2    Two Embarcadera Center
       Suite 1500
  3    San Francisco, California 94111
       Tele^hon:e:    (415} 774-2511
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  8^                                 UNITED STATES DISTRICT COURT
  9                                 CENTRAL DISTRICT OF GALIFORNIA
 10                                        EASTERN DIVISION
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 12                                                     CASE NO. C 04-09049 SGL (RNBx}
       CARTER BR'YANT, an individual,                   JAMS Reference No, 1100049450
 13
                       Plaintiff,
 X4                                                     Consolidated with
                v.                                      Case No. CV 04-09059
 1S                                                     Gale No. CV OS-2727
       MATTEL, INC., a Delaware corporation,
 16                                                     ORDER GRANTING MATTEL'S
                       Defendant.                       MOTION TO COMPEL MGA. TO
 17                                                     PRODUCE DOCUMENTS BEARING
                                                        BATES 1905. MGA. 0800973-4$00974
 18                                                     AND MGA 0829296 -4829345
 19
       CONSOLIDATED WITH
 20    MATTEL; INC. v. I3RYANT and
       MGA ENTERTAINMENT, INC. v. MATTEL,
 21    iNC.                       .
 22

 23
 24                                         I, INTRODUCTION
 25             Mattel, Inc. ("Mattel") submitted a "Motion to Compel Withheld MGA Documents That
 26 ]'rove MGA Was Developing Bretz as Early as June 2000." Specifically, Mattel seeks an order

 27    compelling MGA to produce documents bearing Bates Nos. MGA 0800973_0800974 and MGA

 28
       Bryant v. Mattel, Inc.,
       CV-04-09049 SCI, (RNgx)

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Case 2:04-cv-09049-DOC-RNB Document 2862-3 Filed 03/28/08 Page 30 of 52 Page ID
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   1^ 082929fi - 0$29305, which Mattel characterizes as "smoking gun" documents that prove MGA
     i
   2 was developing Bratz as early as June 2004. MGA contends that the disputed documents were
   3    inadvertently produced and axe protected. by the attorney-client privilege. At MGA's request,

        1Vlattel destroyed the disputed documents. Mattel, however, disputes MGA's claims of privilege

   5    and presently seeks an order compelling production of the disputed documents. MGA submitted

        an opposition together with a supporting declaration, and lodged the disputed documents for an in
   6
        camera review. Mattel sub;nitted a reply. The matter was heard.on December ld, 2007.
   7
                                                 II. BACKG120UND
   8
                 Mattel's claims in this case include allegations that "Carter Bryant (hereinafter "Bryant"]
   9
        conceived, created and developed Bratz designs while he was employed by Mattel as a doll
 10
        designer." Mattel alleges that "using Mattel resources and while employed by Mattel, Bryant
 11
        took steps to assist MGA to produce dolls," and that he "concealed his Sratx work from Mattel
 12
        and wrongfully sold 13ratz to MGA while ha was a Mattel employee." Mattel's Second Amended
 13
        Answer in Case No. 052727 and Countereiaims, dated July 12, 2007, ¶¶2, 26, attached as Ex. 3
 1 ^€
        to Proctor Decl. Mattel alleges that "as a result of the efforts of Bryant and other Mattel
 15     employees working on Bratz (which was done without Mattel's knowledge}, the Gratz dolls had
 lb     been designed and were far slang in developzxlent during the time that Bryant was employed by
 17     Mattel and prior to the time that Bryant left Mattel on October 20, 2000." Id, at Counterclaims,
 l8     ¶36. Mattel claims ownership of Gratz works created by Bryant while he was employed by
 19     Mattel, asserts that Bryant breached bis duties of loyalty and fiduciary duties to Mattel, and

 20     claims that MGA aided and abetted Bryant. Defendants dispute these allegations.

 21              The timing of Bryant's creation and development of Bratz is a central issue in the case,

 22     and thus has been the focus of a substantia3 amount of discovery. Bryant testified at his
        i deposition that he first pitched the Bratz concept to MGA when he met Paula Garcia in August of
 23
        2000. According to the deposition testimony of Bryant and MGA's Isaac l .arian (`tiarian"},
 24
        j Bryant met Lasian for the first time in September 2000. Larian testified that at the time of the
 25
        September meeting, Bryant lead names for each Bratz doll character. Larian also testified,
 26
        however, that one of the Bratz dolls, "Yasrnin," was subsequently ^aamed after his daughter
 27

 28                                                                                                            z
        Bryant v. ^vlattel, Inc„
        CV-04-09449 5GL (RNBx)
                                                                                     LA^^B^1

                                                                                                             /.39
                                                                                     PAG E
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  1 l Jasmine.
  2               Another witness, Aruia Rhee, testifZed that Bryant asked her to paint Bretz doll heads in

  3 ^ rune 2000. Bryant, however, testified that he did not ask Ms. Rhee to paint faces for Bratx dolls
  4     until November 2000.

  S               In the course of discovery, MGA produced documents bearing Bates Nos, MGA 0$00973-

        0800974 and MGA 0829296-0829305 to Mattel. 4n August 7, 2447, however, MGA sent Mattel
  6
        a letter asserting that the documents are protected by the attorney-client privilege and were
  7
        inadvertently produced. Accordingly, Mattel destroyed its copies of the disputed documents and ,

        so confirarled to MGA.
  9
                  The first document in question , marked as MGA 0800973-0800979, is an internal
 10
       document sheet (the "Dacket Sheet") from Russ, August, Kabat & Kent, trademark prosecution
 lI
        counsel for MGA, regarding MGA's hadenlark application for "Bretz." The Docket Sheet
 12.
       includes such information as the name of the mark , the country, the name of the registrant, the
 13
       application number, the application date (December 11, 2004}, tl^e registration numbez, the
 14
       registration date (December 2, 2003}, the term, the date the renewal is due (December 2, 2013},
 15    and the type of goods/services the mark is used far ("Dolls"). Mattel is particularly interested in
 I6    the notation "Dates of Use : 6.15-2000," which appears in a box entitled "Remarks" on the
 17     second page of the Docket Sheet.
 18               The second document in question, marked as MGA 0829296-0829305, is a facsimile
 i9     dated December 7, 2400 (the "Fax") from Lucy 13. Ararat, trademark counsel at Russ, August,

 20    Kabat & Kent to Paula Garcia (then known as Paula Traentafellas) at MGA. The first page of the

 zl    Fax includes a written message from. Ms. Arent to Ms. Garcia stating that the Fax attaches four

 22    trademark applications fnr Isaac I,azian's review and signature. Tile message also includes the
       following remarks by Ms. Arant to Ms. Garcia: "You indicated that all four of the applications
 23
       ^ have a date of first use of June 1 S, 2000. Please confirm that this is correct." The remainder of
 24
       the Fax consists of the "intent to use" trademark applications for " 3ade,» "Yasmin," "Sasha," and
 25
       "Bretz." These "intent to use" trademark applications do not include any information regarding
 26
       I "dates of use."
 27
 28                                                                                                            3
        $ryant v. Mattel, Inc.,
        CV-p4-(14049 SGI. (Ri^Bx)




                                                                                         PAGE                 ^^ ^
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                       u^         #:46480




   1            Mr. Larian executed MGA's trademark applications for ".lade," "Yasrnin," "Sasha," and

  2     "Bretz" on the day the Fax was sen #, December 7, 2440, and the applications were filed with the

  3     Patent and Trademark Office { "PTO"}. MGA subsequently filed a staterrient of use for each of

  4     the four marks that specified dates in May of 2001 for the "date of first use " and a "date of fast

  5     use in commerce," wtuch are significantly different frotx^ the June 15, 2400 date noted in the

        Docket Sheet and the >a ax.
  6'^
                Mattel contends that the disputed documents, and in particular the Tune i S, 2000 date
  71
        noted therein, are relevant torts claim that Bryant secretly worked with MGA an Brain while he
  8
        was employed by Mattel. Bryant was employed at lvlattel &arrt January 4, 1999 until October 20,
  9
        2000. Mattel also contends that the disputed documents are relevant to challenge the credibility
 10
        of defendants' key witnesses, and to substantiate the testimony of Ms. Rhee.
 ll
                Furthermore, Mattel contends that neither of the disputed documents are protected by the
 12
        ^^ attorney-client privilege. Mattel contends that the Docket Sheet is not a communication, ;much
 I3
        less a cornrnunication from MGA to counsel for the purpose of obtaining legal advice. Rather; in
 14
        Mattel's view, the Docket Sheet is an internal Iaw firm dacament that contains basic facts that are
 IS ^' not privileged.

 16             Mattel also contends that even if the Docket Sheet were a privileged con>xnunication; the
 1'7    information contained within it, including the date of first use information, is not privileged
 1$     because MGA did not communicate the information for the purpose of keeping it confidential.

 19 . ^ Rather, Mattel contends that MGA communicated the date of first use and other information listed

 20     on the Docket Sheet to its trademark attorneys so that they could use the information to register

 21     MGA's marks with the PTO. Indeed, Mattel points out that after MGA submitted its "intent to

 22     use" trademark applications, MCxA submitted a "statement of use" for each of its marks to the
        PTO that specified a "date of first use," although the specified "date of #"irst use" was not 3une IS,
 23

 24
        2000.
                Moreover, Mattel contends that applicants for izademarks must disclose to the PTO a date
 2S
        of first use of the mark. Mattel explains that an applicant may initially apply to register a
 26
        trademark by filing an application far use of a trademark or by #aling an application far bane fide
 27

 28                                                                                                              4
        Sryanty. Maric1, Inc.,
        CV-04-09044 SGL (RN9x)
                                                                                                                     •^ i
                                                                                      EXHIBIT                    l
                                                                                      PAGE                - ^^°
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                                                                                  ^-




  1   intention to use a trademark see 15 U.S.C. §1051(a) and {b)}, but in either case the applicant

  2   must eventually disclose a "date of first use" of the mark. A use-based application must include
  3   the date of first use of the mark at the outset, See IS U.S,C. §105i(a}{1). Tn contrast, an "intent

  4   W use" applicant must, within six month of the PTO's issuance of notice of allowance, file a
  ^   "statement that verifies the mark is in use in commerce, the date of first use is commerce, the                      i

      goads and services in connection with the merit are used in cornznerce, and the manner in which
  6
      the mark is being used." E^strnan V. Kodak Co. v. Bell & Howell Document Management
  7
      Products Co., 994 F.2d 1569, 1570 (C.A. Fed. 1993). Matte! reasons that because MGA was
  8
      required to submit information about the date of first use to the PTO in order for MGA to obtain a
  9
      trademark registration, MGA could not have provided the information to trademark counsel with
 10
      any reasonable expectation or intention that such information would remain confidential.                             i
 11
                 Mattel contends that the Fax is not privileged because it is a communication from counsel
 12
      to MGA, not vice versa, and, that tlae attachmertts are non-prlvileged trademark applications.
 13
      Mattel also contends that the Fax is not privileged because it does not reveal any confdential
 14
      corrununication for the purpose of rendering legal advice. Rather, Mattel reiterates that MGA was
 15   required to submit information about the date of ftrst use to the PTO in order for MGA to obtain a

 1^   trademark registration, and therefore MGA could not have expected or intended that such

 17   informmation remain confidential.
 18              1ViGA contends that the declaration of MGA employee Paula Garcia demonstrates that the

 19   communications by MGA to its counsel regarding date of first use for the Bretz doll marks were
 24 intended to be oonfidential attorney-client communications for the purpose of obtaining legal

 21   advice for trademark applications. Accordingly, MGA contends that the references to the date of

 22   first use in the Docket Sheet and the Fax are protected because the references reflect a client

 23   cortfidenee transmitted as part of a privileged communication.
                 MGA contends that Ms. Arant's role was not as a "mere conduit of data" or trazxscriber.
 24
      See e.g., Knogo Corp, v. United States, 213 U.S.P.Q. 93b, 940, 1980 WL 39083 (Ct. Ci. Trial
 25
      Div. 1980) (rejecting the characterization of patent attorneys as mere "conduits" to the PTO}.
 26
      Instead, MGA describes her tale as providing what information should be included in the                •
 27

 28                                                                                                              s
      Bryant v. Maflel, Inc.,
      CV-D4-09044 SGL (RNBx}

                                                                                       ^HiB^T                        (`^

                                                                                       PAGE                  `^^
Case 2:04-cv-09049-DOC-RNB Document 2862-3 Filed 03/28/08 Page 34 of 52 Page ID
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   1^ trademark applications and how it should be sent out . MGA contends that Ms. Axant requested
   2   "dates of first use" information from. Ms. Garcia in connection with advising MGA regarding

   3   "intent to use" trademark applications. MGA's Opposition, pp. S-6. According to MGA, "dates
       of first use" information has sigrnificance to "intent to use" applications for two reasons: first, an

   5   "intent to use" application is only appropriate for marks not already in use; and second, an

       applicant has six months from the "date of first use" to use the mark before it is abandoned,
   6
       MGA emphasizes, however, that "dates of first use" are not among the facts disclosed to the l'TO
   7
       as part of an "intent to use" application. MGA reasons, therefore, that it is incorrect for Mattel to

       assume that Ms. Garcia intended her communications regarding date of first use to be made
   9
       public.
 10
                 MGA also contends that Mattel erroneously relies on MGA's later filings of the
 ^11
       "statement of use" documents to argue that Ms. Garcia conveyed "dates of fast use" to Ms. Ararat
 12
       with the intent that those dates would be publicly disclosed. MGA contends drat Ivlattel has no
 13
       evidentiary support for such a conclusion, and that indeed, Mattel's submissions show that
 14
       different attorneys fiom. two different law firms prepared the "statement of use" filings for MGA
 15    and specified different "dates of first use" for each mark than the June 15, 2000 date that Ms.
 16    Garcia allegedly communicated to Ms. Ararat.
 17              MGA contends further that "[e]ven as to information that made its way into the `intent to
 l8    use applications,' the documents generated in the preparation and drafting of applications that

 l9    reflect attorney-client discourse are shielded by the attorney-client privilege." MGA's Opposition

 20    at p.7. 13ormwing the reasoning in McCook Metals L.L.C. v. Alcoa Inc., 192 F.K,D. 242, 252

`21    {N.D. Ill. 2000}, MGA asserts that drafts "necessarily reflect the conrumunications between s client

 22    and his attorney as the attorney attempts to put forth the invention in the best light possible to

 23    protect a client's legal right." MGA also contends that attorney-client protection extends to

       factual information provided to counsel for the purpose of providing legal advice. See ^ In re
 24
       Spaldiza^S,poris Worldwide, Inc., 203 F.3d $04 (Fed. Cir. 2000) (invention record submitted to
 25
       legal counsel for the purpose of obtaining legal advice was privileged); TeI{nowledg_e Corp. v.
 26
       Akamai Tec^s., Inc., 2004 U.S. Dist, LE^'!S 19109, at *b (N.D. Cal. Aug. 14, 2004) {"technical
 27

 28                                                                                                             6
       Bryant v. ivlaltef, Inc.,
       CV-Q4-49EW9 sGL (Ri+lSx)

                                                                                           ^(HEBtT
                                                                                           PAG ^                ^^^   -
Case 2:04-cv-09049-DOC-RNB Document 2862-3 Filed 03/28/08 Page 35 of 52 Page ID
                                  #:46483
                                                                                     ^^ _




  1   information conurnunica#ed to a patent attorney does not warrant different treatment than any

  2   other information communicated to an attorney in the process of obtaining legal services,").

  3              As for Mattel's argument that the docuuments in question are "smoking grin." evidence,

 .4   1v1GA respaztds that the Bratz launch occurred in June 2001, at which time the marks were first

  5   used, NiGA asserts that "[a]ny contrary information contained in the documents in question was

      an error that should have no bearing on whether the information is privileged." MGA's
  b
      Opposition, p.2. Ms. Garcia explains in her declaration that the June 1 S, 2400 date was
  7
       erroneous. MGA also contends that there could have been no "date of first use" of Bratz in June
  8
      2440 within the meaning of traderrrark law. MGA reasons that the F.anham Aot requires that "first
  9                                                                                  r
       use" be "actual use in commerce," or "bona fide use [] in the ordinary course of trade," ila
 10
       Sport S.p.A. v, Diadora America. Inct, 141 F.R,D, 7S, 78 (D, ill. 1941), and that Brain was not
 I1
      being used in commerce iA June 2044.
 I2
                                                  III. DISCIJS^ION             ..
 13
                 Tlae essential elements of the attorney-client privilege are: "(1) When legal advice of any
 14
      kind is sought {2) from a professional legal adviser in his or her capacity as such, (3) the
 1S   communications relating to that purpose, (4) made in confidence {5) by the client, (6) are, at the
 16   client's instance, permanently protected (7) from disclosure by the client ar by the legal adviser
 17    (8) unless the protection be waived." United States v, iVlartin, 278 F.3d 9$8, 999 (9^' Cir. 2042).
 18   The burden is on the party assertir^g the privilege to establish all the elements of the privilege,

 19   United States v, Munoz, 233 F.3d 1 i 17, ^l 1,28 (9^' Cir. 2044}. "Because the attorney-client

 z4   privilege has the effect of withholding relevant information from the factfinder, it is applied only

 21   when necessary to achieve its limited purpose of encouraging full and frank disclosure by the

 22   client to his or her attorney." Clark v. Am. Gommerce Nat'1 Bank, 974 F.2d •127, 129 {9th Cir.

 23   ^ 1942).
                            MGA has Failed to Establish that the Docket Sheet is Privileged
 24
                 MGA argues that theattorney-client privilege extends to the Docket Sheet because it was
 25
      a "paper [^ prepared by an attorney or at an'attorney's request for the purpose of advising the
 26
      client, wwhich wasj based on and would tend to reveal the client's confidential communications."
 27
 28
       Bryant v . MattCi, ]nc.,
       CV-04-Q9044 5GL (RNBx)


                                                                                            ^XHfBIT            ^ `^
                                                                                            PAGE             f y3
Case 2:04-cv-09049-DOC-RNB Document 2862-3 Filed 03/28/08 Page 36 of 52 Page ID
                                  #:46484
                                         ^....                                          ^^._




   1    ' MGA's Opposition at p.9 (citing In re FischeI, 557 F. 2d 209,211 (9^` Cir. 1977}}. MGA's
   2 i argument, however, is unsupported by evidence.

   3              The declaration of Paula Garcia fails to specifically address Fhe Docket Sheet. Instead,
   r}   Ms. Garcia generalizes as follows:

   5                          Prior to the launch of Bretz, I communicated with. outside lawyexs for
                  MGA in connection with protecting MGA's trademarks for the "Bretz" line. of
   5
                  products it hoped to launch in June 2001. These communications were far the
   7
                  purpose of obtaining legal advice from MGA's trademark counsel, including
   8.
                  communications in ar about December 2000 with Lucy Arent of Russ, August,
   9
                  Kabat & Kent LLP. In general, I intended and expected my communications with
 10
                  counsel in connection with MGA's trademark filings to be confidential, including
 11
                  communications regarding the anticipated date of MGA's fast use of the "Bretz"
 12
                  marks.
 13
        Garcia Decl. In Support of MGA's Opposition, ¶3.
 14
                  Nowhere in the evidentiary record submitted by MGA does MGA explain why or how the
 15     Docket Sheet was created or maintained. MGA does not explain who created the Docket Sheet or
 1 ti   'provide the source of the information con#ained therein MGA has not established the retiuzsite
 17      elements oftheattorney-client privilege for this specific document. See ^ Automated
 18^ Technologies lnc..v. Knapp Logistics & Autorr^ation, Ina., 382 F.Supp.2d 1372, 1375 (N.D. Ga.

 19     20aS} (party invoking privilege has the burden of provizzg "that the particular communications

 20     were confidential"}; Kodish v. Oakbrook Terrape Fire Protection Dist., 235 F.R.D. 447, 4S3

 21     ("The perky seeking to assert the privilege must show that the particular cannmunication was part

 22     of ^ request for advice or part of the advice, and that the coxnrnunicatian was intended to be and
                                         MGA has failed to carry its burden of establishing that the Docket Sheet
 2^ , was kept confidential.'.
        is protected by the attorney-client privilege.
 24
                                    MGA has l;ailed to Establish That'the Fax is Privileged
 25
                  An in camera review of the Fax contrriis that the document constitutes a corrtmunicatian
 2s
         between MGA and counsel regarding MGA's itadeinark applications. That the Fax constitutes a
 27

 2S                                                                                                             s
        E sue, ^. M^^, ^^.,
        j CV-04-09049 sGL (RA7Bx)


                                                                                               ^(FIIBIT             ^
                                                                                               PAGE            ^^y
Case 2:04-cv-09049-DOC-RNB Document 2862-3 Filed 03/28/08 Page 37 of 52 Page ID
                       ^^         #:46485                ^




  i    communication between MGA and counsel, however, is insufl!"icient without more to establish
  2    that the Fax is privileged. MGA must also establish that the 1?ax is a confidential corxxmunication

  3    for the purpose of rendering legal advice. See ^ Automated Technologies, Inc. v. Knapp                     ,

  4    Logistics & Automation, Inc., supra; Kodish v, pakbrook Terrace Fire Protection Dist., supra.

  $    MGA has failed to do so. Ms. Garcia's declaration does not even mention the Fax, much less
       specify that the information contained therein was intended to be canf'rdentsal for the purpose of
  6
       rendering legal advice. Instead, Ms. Garcia speaks in generalities about corrzmunications
  7
       zegarding MGA's trademark applications. In fact, the Fax does not contain any legal opinions or
  8
       advice. The only attorney-client communication xeflected in the Fax is the staterrfent regarding
  9
       the "date of first use."
 la
                  MGA could not 3aave had a reasonable expectation that the June i 5, 2000 "date of first
 li
       use" stated in the Fax would be kept confidential. As Mai#el points out, ^ order to obtain a full
 I2
       trademark registration, an applicant must disclose the "dates of first use" to the PTO. This is true
 i3
       regardless of whether the applicant initially files an "intent to use" application or a use-based
 1^4
       application. See i5 U.S.C. §1051(a)(2) (use-based application must include the date of first use
 i5    of the mark}; Eastman 'V. Kodak Co. v. Bell & Howell Document Management Products Co., 994
 i5    1~.2d at 1570 (an "intent to use" applicant must file a "statement #hat verifies ...the date of first

 ^^    llSe !n commerce}.

 18               MGA xelies on Ms. Garcia's declaration that she generally expected her coizzmunications

 19    with trademark counsel to be confidential. However, a client's subjective belief as to whether a

 20    communication is privileged must be reasonable in order for the attorney-client privilege to

 21    attach. Speaker ex rel. Speaker v. County of San Bernadino, 82 F.Supp.Zd i 105, 1112-1113
 22 (C.I}. Cal. 2000} (client's subjective belief "should be reasonable in order to lay claim to the                  ,
       protections of the privilege"}; Griffith v. Davis.l6i F.R.D. 687, 696 (C.D. Cal. 1995} (attorney-
 23
       client privilege not applicable to information communicated to attorney where client knew
 24
 25 information would be used in his employer's administrative investigation}. Although a client's

       subjective belief of confidentiality is necessary fox the attorney-client privilege to attach, it is not
 26
       sufficient. See In re Grand 3ury Subpoena Duces Tecum, 112 F.3d 910, 923 (8^' Cir, 1997)
 27

 28                                                                                                               y
       Brya^,c ^. ^igu^, ins.,
       CV-04-09049 SGL (RNBx)

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                                                                                              PAGE                        !Y`S^
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                                                                                     ^,__




   1   ("^W]e know of no authority ... holding that a client's belzefs, subjective or objective, about the
  2    law of privilege can transform an otherwise unprivileged conversation into a privileged one.").
  3               Nevertheless, MGA attempts to identify confidential reasons why Ms. Garcia might have

  4    communicated "date of first use" information to Ms. Ararat. According to MGA, the only reason
  5    Ms. Azant solicited "date of first use" information from Ms, Garcia was {i} to determine whether

       an "intent to use" application would be proper and {ii) to determine when MGA should file its
  6
  7    applications. MGA asserts that "these legal considerations led Ms. Ararat to request `dates of fast

       use' from Ms. Garcia." MGA's Opposition at p.6. However, there is no evidence of record to
  8
       substantiate MGA's contentions,
  9
                  MGA's failure to provide evidence to substantiate its claim that the Fax reveals the
 10
       substance of a confidential com>•nunication is•fatal to its claim ofprivilege. Because a mark's
 11
       date of first use is factual infoxrrtataon that must be can^eyed to the PTO to secure a trademark
 lz
       application, communication of this information is not privileged. Weil Ceramics & Glass. lnc. v.
 13
       Work, 110 h'.R.D. 5000, 504 (E.D. N.Y. 1986) {"The party claiming the privilege must clearly
 14
       show that a document renders legal advice and does not, for example, merely contain facts la#er
 15    disclosed in a patent or trademark application"}; see also United States v. White, 950 F.2d 426,

 1^    430 (7a' Cir. 1991) ("when infoz3nation is disclosed for the purpose of assembly into a bankruptcy

 1^    petition and supporting schedules, there is no intent for the information to be held in confidence
 18    because the information is to be disclosed on documents publicly filed").

 19          ^    MGA contends, however, that the June 15, 2000 date was not actually disclosed to the
 20    l'TO and points out that Mattel's own submissions show that different attorneys from two

 21    different law fums prepared the "statement of use" filings for MGA and specifed different "dates

 22    of first use" for each mark than the June 15, 2000 date that Ms. Garcia allegedly communicated to

       Ms. Ararzt. That the June 15, 2000 date was not actually disclosed is irrelevant. What is relevant
 23
 24 is whether Ms. Garcia actually and reasonably intended and expected the "dates of first use"

 25 information she provided to Ms. Ararat to remain confidential when she made the communication,

       not whether the information was actually conveyed to the public. See In re Grand Jury
 26
       1?roceedinl7s, 727 F.2d 1352, 1358 (4u' Cir, 1984) (information given to attorney to prepare
 27
 28                                                                                                          io
       Bryant ^. Mait^t, lnc•,                          _
       Cv-09-09099 SGL (RNBx)


                                                                                            EXHIBIT
                                                                                            PAGE                  ^ ^"^^
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                                                       ^'"'^
                       r          #:46487
                                              ^s.
                                                                                                                     ^...^




      prospectus was not protected by attorney-client privilege, even #hough no. prospectus was ever
  2   actually issued); United States v. Lawless, 709 F.2d 485, 487 {7a' Cir. 1983} ("[I]f tare client

  3   transmitted the information so that it might be used on the tax return, such a transarission destroys

  4   any expectation of confidentiality").

  5              Lastly, MGA's reliance on McCook, sa                              and other related caselaw' is misplaced. Itr
      McCook, the court held that draft patent applications were privileged because they "contain[ed^
  s
      the legal opinion and advice of the attorney regarding the wording of technical specifications,
  7
      claims, and prior art, and whether an item is included, all of which are necessary to secure a Legal
  8
      claim for the client." McCook, 192 E.R.D. at 252-253. In contrast, the Fax at issue in this case
  9
      reflects no such attorney opinions or advice. Indeed, the only attorney-client communication
 10
      reflected in the Fax is the statement regarding the "date of first use." The cases cited by MGA are
 11
      inapplicable to communications conveying date of first use information in the trademark context
 12
      because, as discussed previously, a trademark attorney does not have discretion. regarding whether
 13
      to disclose the "date of first use" inforinafion to the PTO.Z
 14                                                              iV. CONCLUSION
 IS              For the reasons set forth above, Mattel's motion to compel MGA to produce documents
 16   bearing Bates Nos. MGA 08flfl973-0800974 and MGA 0829296-0$29305 is granted. MGA shall
 17   produce said docurnertts on or before December 2$, 2407.
 I8              Pursuant to Paragraph b of the Stipulation and Ordei for Appointment of a Discovery

 I9   Master, Mai#e! shall file this Orcler with the Clerk of Court forthwith.

 20
 21   Dated : Decerrtber f ^, 2007
                                                                            r               D WARD . INF                     E {Rat. )
 22                                                                                          Discovery Maste
 23
 24              `,^ Rohm v. III Co. v. Smtac^Crxn.. 81 S F.Supp. 793, 797 (D, Del. 1993); H}yt^,Ss^h vt Choon Sik Yana. 1997 LE,S. Dist. I.E,7CIS
      24077 (N.D. Cal. trio. 18,1977); Come: Perioheral9. Inc . v VY^tnrn Di i pt -oro. 9993 U.S. Aist i.EXIS 20149 (9d.D, Cal. Itme 8,1993);
 2S   7elCrtewledge Com v Akemai Tec9ts Iris . 2fl04 U.S. Ai9G I.E7CI5 19109 (9d,D. Cal. Aug 90, 2004).

 26
                 = Mapc1 argots !n the alternative that even if the disputcd dowmcnts were privilagcd, MGA has waived the pri^nlege . Because MGA
      bas fhiMd to establish the requisite e9cments ofthe attorney -chat[ privilege as to the disputed ^bocutnents , it is unncceasary !o addreu Mattel's
 27
      waiver argument herein.
 28                                                                                                                                                     ll
      Bryant ^ . Mattel, m^.,
      CV^04.09049 SGi, (RNBx)

                                                                                                                              EXH1B^^'                       ^f o
                                                                                                                             PAGE                            ^^^
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                                  #:46488
                                t-_                                               ^...^




                                      PROOF OF SERVICE, BY E-1VIAIr.

          I, Sandra Chan, not a party to the within action, hereby declare that on December 17, 2007, I
  served the attached ORDER GRANTING MATTEL'S MOTION TO COMPEL MGA TO PRODUCE
  DQCUMENTS BEARING BATES NOS. MGA 4800473-0$00474 AND MGA 0829296-0824305 in
  the within action by a-mail addressed as follows:



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          i declare under penalty of perjury under the laws of the Untied States of America that the above
  is tree and correct.
          Execufed on December 17, 2007, at San Francisco, California.



                                                                     Sandra Chan




                                                                                            EXHIBIT                ^U
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       AS
                                   UNITED STATES DISTRICT COURT
                                  CENTFiAI.. DISTRICT OF CAl.#FORNIA
                                 3470 Twelfth Street, Riverside, CA 923411
                                       CIVIL MINLfTES - G^^RA^

    Case No.       CV 04-09040 SGL^RNBx)                                                         Date: July 2, 2007

    Title:         CARTER BRYANT -w MATTEt,;1NC.
                       AND CONSOLIDATED ACTIONS

    PRESENT: HONORABLE STEPHEN G. LARSON, UNITED STATES DISTRICT JUDGi~

                   Jim Holmes                                                      Theresa Lanza
                   Caurtrr^vm Deputy Clerk                                         Court Reporter

    ATTORNEYS PRESENT FOR CARTER                               ATTORNEYS PRESENT FOR MATTEL.:
    BRYANT:

    John Vlf. Keker                                             John B. Quinn
                                                                Brett Dylan Proctor
                                                                Michael T. Zefler

    ATTORNEYS PRESENT FOR MGA:                               EH'ri"R^D
                                                 CI.r:Ri(, U S . QlSTAlCr CC1UA7

    Dale M. Cerl^all
    Patricia Glaser                                    ,It1L ` S Zt^^
    PROCEEDINGS:          MINUTE
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          As set faith more fully herefi,                                                  ru4ing regarding matters
    heard on Ju#y 2, 2007:
    (1)      The Court GRANTS Ma#tei's Matiar^ re Trial Structure ^dacket #462);

    ^2)      The Court GRANTS IN PART AND DENIES i!N PART MGA's Motion re Discovery Master's
             May 15, X4)07, Order {docket #605);

    (3)      Tl1e CouR GRANTS IN PART AND DL^NIES IN PART MGA's Ex Pane Application

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            regarding date of production of documents {docket #545); and

     (4)    The Court DENIES MGA's Motion re Discovery Master's May 16, 2007, Order (docket
            #508),

     (5)    The Court DENIES the parties' oral request for modification of pretrial and trial dates.


     (1)    Motion re Trial Structure (docket #fi482}

             Previous orders ofi the Court specified that the claims and counterclaims brought In this
     action will be tried in two phases , The parties have agreed, in large part, to a refinement of the
     Court`s mandate ti^at all issues regarding the ownership of Gratz shall be tried in Phase 'l. Where
     the parties differ is upon a proposal by Maffei that the Phase 1 be bifurcated into two sub-phases,
     with Mattel's copyright infringement claim (its first counterclaim in the 05-02727 case } and ail
     Phase 1 damages being tried after a!1 the other issues . Phase 1 (a) would be limited to issues
     surrounding Carter Bryant's employment with Maffei, and how Chase Issues impact tl3e ownership
     of certain original Bretz drawings , while Phase 1(b} would address approximately two-hundred
     Gratz products that ors pv#entially derivative of tine ariginaf drawings. This approach has the
     appeal of limiting Phase 1(a) to discrete issue of the ownership of the original Bratr drawings. A
     finding That Bryant owns these original drawings in Phase 1{a) has the potential to eliminate the
     need for Phase 1(b},

           Accordingly, THE COURT ADUPi 'S MATTEL'S MODIFICATION OF D^FENUAN7S'
     PROPOSAL, as set forth at 8-9 of its Memorandum Regarding Trial Str^scture, filed June 20, 2007.
     Phase 1(a) and Phase 1(b} (if necessary) will be tried to the same jury.

     (2)    MGA's Motion re Discovery Master's May 15, 2007, Grder (docket #505), and
     (3)    MGA's Ex Parfe Application regarding date of production of documents (docket #a45).

            The Discovery Masters May 15 , 2007, Order compels production of documents regarding
     ink, paper, and chemical analysis and documents relating to unreleased MGA products . The order
     required that documents he produced no Eater than tl^e end of May.

             The Court reviews the Discovery Master' s orders under the "clearly erroneous " or "contrary
     to iav^' standard set forth in l=ed. R , Civ. P. 72(a}.

             The Discovery Master's order compels the production of only non -privileged documents.
     Therefore, MGA's arguments that the Discovery Master' s order requires production ofi documents
     in violation of the attamey-Client privilege are misplaced . if the only responsive documents are
     pm+ileged, then MGA need not produce them, bat must produce a privilege tog.

            MGA acknowledges that it has raised an argument before the Court that was not raised

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    before the Discovery Master, namely, that Matte! has failed to establish that there are "exceptional
    circumstances" that allow Mattel fo "discover facts known or opinions held by an expert ...who is
    not expected to be called as a witness at trial." Fed. R. Civ. p. 26(b)(4}(B). MGA contends that
    the Discovery Master's order is contrary to law based on this standard, and that ft was incumbent
    upon Mattel #o raise it below. The Court disagrees. Maffei would be required to establish that
    sxceptiorral circumstances existed if MGA objected to production on that grounds. A party seeking
    production cannot be expected to rebut all arguments that could possit^ly be raised by a party
    resisting production. MGA has not convinced the Court that the Discovery Masters failure to
    require Mattel to rebut an argument that was not raised by MGA is contrary to law.

            MGA contends that the Discovery Master's order compelling production of documents
    regarding unreleased products is contrary to law. Relevant #o that determination is a balancing
    test required to be applied by the Ninth Circuit when trade secrets are requested by a compefitor in
    discovery. See Brown Bap Software v. Symantec Corp., S6{l F.2d 9465, 9470 (9th Cir. 7982}
    ^"Speci€caily, in this case we must balance the risk to [defendant] of inadvertent disclosure of
    trade secrets to competitors against tt^e risk to {plaintiffj that protection of {defendant's] trade
    secrets [will] impala prosecution of [plaintiffs] clams."}.

       . Here, the documents sought are of a particularly sensitive nature, They represent same of
    the mast secretive documents maintained by MGA, and they are being ordered to be produced to
    MGA's fierce competitor. The Qisoovery Master recognized the sensitive nature of the documents
    and entered a strict protective order that severely limits access to those documents and that goes
    well beyond the normal "attorney eyes only" designation.

           MGA argues that unreleased products are irrelevant to the issue of who ©wns the angina!
    Brad drawings. That is clear. However, MGA's argument attempts to limi# the discovery to issues
    involved in F'hase 9 of the trial. There has been no bifurcation of discovery.

            Mattel correctly points out that these documents are relevant to a number of its other
    claims. Specifically, i# they show unreleased products that are Similar to Mattel's unreleased
    products, the documents would be highly probative of Mattel's misappropriation of trade secrets
    claim. Moreover, these documents could be relevant to Mattel's RICO claims based on alleged
    acts of criminal copyright infingement,

             Balancing tests are inherently subjective and particular^r susceptible to varying
     interpretation by individual judicial officers. This Court, upon considering this issue from the
     outset, may very well have weighed the evidence differently and reached a contrary result.
     However, this Court is bound by the standard of review, and MGA's motion falls far short of
     convincing the Court that the Discovery Master's order is contrary to law.

            The parties have a long history regarding tl,e production of documen #s ordered in the May
     1;a, 2007, Order, which is set forth in their papers and which need not be repeated here . Counsel
     for MGA represented that the remaining documents could be produced no later than July 37 ,
     2007, with the exception of the documents from MGA Hang Kong , which could be produced no
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  .   Later than two weeks after that date. Accordingly, the Court ORDERS that MGA complete the
      document production set forth in the Discovery Master's May 1 ^, 2407, vrcier no later than ,luly 31,
      2407, with the exception of the documents from MGA Hang Kong, which shall be produced no
      later than August 14, 2x07.

              Accordingly, the Court GRANTS in part MGA's motion re the Discovery Master's May 15,
      2007, Order, extending the document production date as set forth above. The Motion is DENIED
      in all other respects.

           Likewise, the Court GRANTS in part MGA's ex pane application re date of production of
      documents, extending the document production date as set forth above. The application is
      DENIED in all other respects.

      (4)    MGA's Motion re Discovery Master's May 16, 2047, Order (docket #508)

             The Discovery Master's May Zia, 2007, Order compelled the Rule 30(bx6}depositions of
      witnesses on the topics of MGA's net worth, prior sworn statements, and Ink, paper, and chemical
      analysis performed by MGA,

                     A party may in the party's notice and In a subpoena name as the deponent a
             public or private oorporatian or a partnership ar association or governmental agency
             and describe with reasonable particularity the mafters on which examination is
             requested. In chat event, the organization so named shall designate one or more
             officers, directors, or managing agents, or other persons who consent to testify on its
             behalf, and may set forth, for each person designated, tfi^e matters on which the
             person wilt testify.... The persons so designated shat! testify as to matters ktrowa
             or reasonably available to the organization.

      Fed. R. Civ. P. 313(b}(6) (emphasis added). '"The purpose behind Rule 34(b)(6) is to create
      testimony that will bind the corporation." Sanders v. Ci^le K Corp., '137 F.R,D. 292, 294 (I?. Ariz.
      1991} (internal citation omitted}, Another purpose of Rule 30(b}(6) is aptly described by the District
      Court for the iistrict of Columbia:

             (The purpose of Rule 34(bx6) Is toj prevent[) serial depositions of various witnesses
             without knowledge within an organization artd eliminating `bandying', which is the
             name given to the practice in which people are deposed in tcrn but each disclaims
             knowledge of #acts that are clearly known to persons in tits organization and thereby
             to the organization itse#,

      Alexander y. F.B.I., 186 f.R.D.148, '152 (D.D.C. 1999) ( citing the '1974 Advisory Committee Notes
      to Rule 30(b}(8}}.

             The Discovery Master's order compelling Rule 3Q( b}{6} depositions in the specified


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    categories serve both these purposes and is not contrary to law.

             Although MGA's net worth may not be known to it, MGA does not contend that the -
    information is not readily available. That net worth is generally the subject of expert testimony at
    trial -- a proposition disputed by neither Mattel nor theCourt --does rrot render it an improper
    subject for a Rule 3U{b)(S}. Therefore, the liscovery Master's ruling on this issue is not contrary
    to law.

           MGA likewise does riot contend that information regarding prior swum statements are not
    readily available to it. Although contending that this is not an appropriate subject far a Rule
    30(b)(6} deposition, MGA fails to cite authority in support of that contention. Therefore, the
    Discovery Masters ruling on this issue is not contrary to law.

           The ink, paper, and chemical analysis topic is likewise a proper subject of a Ruie 34{b}(6)
    deposition . To the extent that such a deposition has the potential to encroach upon information
    protected by the work-product privilege, then that objection must be made on a question-by-
    question basis. MGA may not make a blanket objection and justify its refusal to produce a Rule
    30(b)(G) designee an this topic based on that blanket objection. Therefore, the Discovery Master's
    ruling on ibis issue is not contrary to law.

             Accordingly, the Court DENi^S MGA's motion re the Discovery Hostel's May 96, 2007,
    Order.

    (5)      Aral Request for Modification of pretrial and trial dates.-

           Although no motion or ex parte application on the subject was pending before the Court, the
    parties made an oral request at the hearing to continue certain pretrial and trial dates. A
    discussion ensued and it became apparent chat no final agreemerrt was reached by the parties
    regarding extending these dates. Accordingly, the Court DENIES the parties' Drat request far
    modification of pretrial and trial dates. The Court wilt consider counsels' stipulation regarding
    extensions of those dates only where all counsel unqual'rfiedly stipulate to those dates. Until the
    scheduling order is modified by the Court, the dates previously set by the Court remain in effect.
    In addition, the Court is unlikely to entertain a continuance of the Phase t #rial past April, 2Q08.

             IT IS SO GRDERED.




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                              EXHIBIT 12

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                                                       EXHIBIT 13
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                              EXHIBIT 13

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                                                       EXHIBIT 14
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                              EXHIBIT 14

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